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Comcast (CC) of Willow Grove                                                                                   Employee ID: 10045887
One Comcast Center                                                                                           Employee Type: Regular-Full time
Philadelphia, PA 19103-2838                                                                                   FLSA Exempt: No
Phone: 877-909-4748


Name                       Company                                         Employee ID      Pay Period Begin       Pay Period End           Check Date          Check Number
Dennis Gates               Comcast (CC) of Willow Grove                      10045887            12/27/2020            01/09/2021           01/15/2021

                                     Hours Worked                 Gross Pay     Pre-tax Deductions        Employee Taxes      Post-tax Deductions                   Net Pay
Current                                     72.00                  3,044.28                374.11                 371.35                   50.68                    2,248.14
YTD                                         72.00                  3,044.28                374.11                 371.35                   50.68                    2,248.14

                                          Earnings                                                                              Employee Taxes
Description              Dates                            Hours    Rate        Amount            YTD    Description                                   Amount            YTD
Holiday OT               12/27/2020 - 01/02/2021              8   33.09         264.72         264.72   Social Security                                177.79         177.79
Holiday Pay              12/27/2020 - 01/02/2021              8   33.09         264.72         264.72   Medicare                                        41.58          41.58
Holiday Premium          12/27/2020 - 01/02/2021              8   16.55         132.36         132.36   Federal Withholding                             56.18          56.18
Regular Pay - Hourly     12/27/2020 - 01/02/2021             24   33.09         794.16                  State Tax - GA                                  95.80          95.80
Regular Pay - Hourly     01/03/2021 - 01/09/2021             40   33.09       1,323.60       2,117.76
Vacation Pay             12/27/2020 - 01/02/2021              8   33.09         264.72         264.72
Earnings                                                                      3,044.28       3,044.28   Employee Taxes                                371.35          371.35

                           Pre-tax Deductions                                                                       Post-tax Deductions
Description                                  Rate           Amount           YTD    Description                                      Rate             Amount            YTD
401k Pretax                               6.000%             182.66        182.66   Personal (Accident Personal)                                        4.61            4.61
Dental                                                        10.78         10.78   Spouse AD&D Insurance                                               1.30            1.30
Medical                                                      174.50        174.50   Spouse Life Insurance                                              28.58           28.58
Vision                                                         6.17          6.17   Supp LTD 60%                                                       14.17           14.17
                                                                                    Supplemental AD&D Ins                                               2.02            2.02


Pre-tax Deductions                                           374.11        374.11   Post-tax Deductions                                                50.68           50.68

                                                                      Taxable Non-Cash Event
Description                                                                                                                                           Amount            YTD
Basic LTD 40%                                                                                                                                           3.53            3.53
Taxable GTL                                                                                                                                            11.18           11.18
Taxable Non-Cash Event                                                                                                                                 14.71           14.71

                                                                                         Federal                                              State
Marital Status                                                                           Married                              C - Married 1 Income
Allowances                                                                                    10                                                  2
Additional Withholding                                                                         0                                                  0

                                                                 Payment Information
Bank                                 Account Name                             Account Number                                   USD Amount                    Amount
BANK OF AMERICA, NA                  BANK OF AMERICA, NA ******8225           ******8225                                                                   2,248.14 USD
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Comcast (CC) of Willow Grove                                                                                      Employee ID: 10045887
One Comcast Center                                                                                              Employee Type: Regular-Full time
Philadelphia, PA 19103-2838                                                                                      FLSA Exempt: No
Phone: 877-909-4748


Name                          Company                                         Employee ID      Pay Period Begin        Pay Period End           Check Date         Check Number
Dennis Gates                  Comcast (CC) of Willow Grove                      10045887            06/13/2021             06/26/2021           07/02/2021

                                        Hours Worked                 Gross Pay     Pre-tax Deductions         Employee Taxes     Post-tax Deductions                   Net Pay
Current                                        72.00                  2,725.30                 354.97                 300.04                  51.16                    2,019.13
YTD                                           969.00                 38,902.01               4,822.99               4,914.79                 662.68                   28,501.55

                                              Earnings                                                                             Employee Taxes
Description                 Dates                            Hours    Rate        Amount            YTD    Description                                   Amount            YTD
Flex Day                                                                                        1,347.04   Social Security                                158.10       2,270.14
Flex Payout                                                                                       272.53   Medicare                                        36.97         530.92
Holiday OT                                                                                        537.25   Federal Withholding                             26.33         904.09
Holiday Pay                                                                                       801.97   State Tax - GA                                  78.64       1,209.64
Holiday Premium                                                                                   268.64
Overtime Pay                                                                                      571.32
Overtime Premium                                                                                  285.68
Quarterly Frontline Bonus                                                                       1,889.12
Regular Pay - Hourly        06/13/2021 - 06/19/2021            40    34.07       1,362.65
Regular Pay - Hourly        06/20/2021 - 06/26/2021            32    34.07       1,090.12      31,573.62
Vacation Pay                06/20/2021 - 06/26/2021             8    34.07         272.53       1,354.84
Earnings                                                                         2,725.30      38,902.01   Employee Taxes                                300.04        4,914.79

                              Pre-tax Deductions                                                                        Post-tax Deductions
Description                                     Rate           Amount            YTD    Description                                      Rate            Amount            YTD
401k Pretax                                  6.000%             163.52       2,334.14   Personal (Accident Personal)                                       4.61           59.93
Dental                                                           10.78         140.14   Spouse AD&D Insurance                                              1.30           16.90
Medical                                                         174.50       2,268.50   Spouse Life Insurance                                             28.58          371.54
Vision                                                            6.17          80.21   Supp LTD 60%                                                      14.59          187.57
                                                                                        Supplemental AD&D Ins                                              2.08           26.74


Pre-tax Deductions                                              354.97       4,822.99   Post-tax Deductions                                               51.16          662.68

                                                                         Taxable Non-Cash Event
Description                                                                                                                                              Amount            YTD
Basic LTD 40%                                                                                                                                              3.63           46.69
Taxable GTL                                                                                                                                               12.42          155.26
Taxable Non-Cash Event                                                                                                                                    16.05          201.95

                                                                                            Federal                                              State
Marital Status                                                                              Married                              C - Married 1 Income
Allowances                                                                                       10                                                  2
Additional Withholding                                                                            0                                                  0

                                                                    Payment Information
Bank                                    Account Name                             Account Number                                   USD Amount                    Amount
BANK OF AMERICA, NA                     BANK OF AMERICA, NA ******8225           ******8225                                                                   2,019.13 USD
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Comcast (CC) of Willow Grove                                                                                      Employee ID: 10045887
One Comcast Center                                                                                              Employee Type: Regular-Full time
Philadelphia, PA 19103-2838                                                                                      FLSA Exempt: No
Phone: 877-909-4748


Name                          Company                                         Employee ID      Pay Period Begin        Pay Period End           Check Date         Check Number
Dennis Gates                  Comcast (CC) of Willow Grove                      10045887            05/02/2021             05/15/2021           05/21/2021

                                        Hours Worked                 Gross Pay     Pre-tax Deductions         Employee Taxes     Post-tax Deductions                   Net Pay
Current                                        73.00                  2,776.41                 358.03                 311.52                  51.16                    2,055.70
YTD                                           741.00                 29,635.95               3,692.67               3,735.17                 509.20                   21,698.91

                                              Earnings                                                                             Employee Taxes
Description                 Dates                            Hours    Rate        Amount            YTD    Description                                   Amount            YTD
Flex Day                                                                                        1,210.77   Social Security                                161.27       1,728.27
Holiday OT                                                                                        264.72   Medicare                                        37.71         404.19
Holiday Pay                                                                                       529.44   Federal Withholding                             31.14         687.91
Holiday Premium                                                                                   132.36   State Tax - GA                                  81.40         914.80
Overtime Pay                05/02/2021 - 05/08/2021             1    34.07          34.07         298.79
Overtime Premium            05/02/2021 - 05/08/2021             1    17.04          17.04         149.40
Quarterly Frontline Bonus                                                                       1,889.12
Regular Pay - Hourly        05/02/2021 - 05/08/2021            32    34.07       1,090.12
Regular Pay - Hourly        05/09/2021 - 05/15/2021            40    34.07       1,362.65      24,351.57
Vacation Pay                05/02/2021 - 05/08/2021             8    34.07         272.53         809.78
Earnings                                                                         2,776.41      29,635.95   Employee Taxes                                311.52        3,735.17

                              Pre-tax Deductions                                                                        Post-tax Deductions
Description                                     Rate           Amount            YTD    Description                                      Rate            Amount            YTD
401k Pretax                                  6.000%             166.58       1,778.17   Personal (Accident Personal)                                       4.61           46.10
Dental                                                           10.78         107.80   Spouse AD&D Insurance                                              1.30           13.00
Medical                                                         174.50       1,745.00   Spouse Life Insurance                                             28.58          285.80
Vision                                                            6.17          61.70   Supp LTD 60%                                                      14.59          143.80
                                                                                        Supplemental AD&D Ins                                              2.08           20.50


Pre-tax Deductions                                              358.03       3,692.67   Post-tax Deductions                                               51.16          509.20

                                                                         Taxable Non-Cash Event
Description                                                                                                                                              Amount            YTD
Basic LTD 40%                                                                                                                                              3.63           35.80
Taxable GTL                                                                                                                                               12.42          118.00
Taxable Non-Cash Event                                                                                                                                    16.05          153.80

                                                                                            Federal                                              State
Marital Status                                                                              Married                              C - Married 1 Income
Allowances                                                                                       10                                                  2
Additional Withholding                                                                            0                                                  0

                                                                    Payment Information
Bank                                    Account Name                             Account Number                                   USD Amount                    Amount
BANK OF AMERICA, NA                     BANK OF AMERICA, NA ******8225           ******8225                                                                   2,055.70 USD
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Comcast (CC) of Willow Grove                                                                                      Employee ID: 10045887
One Comcast Center                                                                                              Employee Type: Regular-Full time
Philadelphia, PA 19103-2838                                                                                      FLSA Exempt: No
Phone: 877-909-4748


Name                          Company                                         Employee ID      Pay Period Begin        Pay Period End           Check Date         Check Number
Dennis Gates                  Comcast (CC) of Willow Grove                      10045887            07/25/2021             08/07/2021           08/13/2021

                                        Hours Worked                 Gross Pay     Pre-tax Deductions         Employee Taxes     Post-tax Deductions                   Net Pay
Current                                         72.00                 2,725.30                 354.97                 300.04                  51.16                    2,019.13
YTD                                          1,153.00                48,127.49               5,759.42               6,210.02                 765.00                   35,393.05

                                              Earnings                                                                             Employee Taxes
Description                 Dates                            Hours    Rate        Amount            YTD    Description                                   Amount            YTD
Flex Day                                                                                        1,619.57   Social Security                                158.10       2,820.37
Flex Payout                                                                                       272.53   Medicare                                        36.97         659.60
Holiday OT                                                                                        537.25   Federal Withholding                             26.33       1,217.67
Holiday Pay                                                                                     1,074.50   State Tax - GA                                  78.64       1,512.38
Holiday Premium                                                                                   268.64
Overtime Pay                                                                                      571.32
Overtime Premium                                                                                  285.68
Quarterly Frontline Bonus                                                                       2,938.70
Regular Pay - Hourly        07/25/2021 - 07/31/2021            32    34.07       1,090.12
Regular Pay - Hourly        08/01/2021 - 08/07/2021            40    34.07       1,362.65      37,841.81
Vacation Pay                07/25/2021 - 07/31/2021             8    34.07         272.53       2,717.49
Earnings                                                                         2,725.30      48,127.49   Employee Taxes                                300.04        6,210.02

                              Pre-tax Deductions                                                                        Post-tax Deductions
Description                                     Rate           Amount            YTD    Description                                      Rate            Amount            YTD
401k Pretax                                  6.000%             163.52       2,887.67   Personal (Accident Personal)                                       4.61           69.15
Dental                                                           10.78         161.70   Spouse AD&D Insurance                                              1.30           19.50
Medical                                                         174.50       2,617.50   Spouse Life Insurance                                             28.58          428.70
Vision                                                            6.17          92.55   Supp LTD 60%                                                      14.59          216.75
                                                                                        Supplemental AD&D Ins                                              2.08           30.90


Pre-tax Deductions                                              354.97       5,759.42   Post-tax Deductions                                               51.16          765.00

                                                                         Taxable Non-Cash Event
Description                                                                                                                                              Amount            YTD
Basic LTD 40%                                                                                                                                              3.63           53.95
Taxable GTL                                                                                                                                               12.42          180.10
Taxable Non-Cash Event                                                                                                                                    16.05          234.05

                                                                                            Federal                                              State
Marital Status                                                                              Married                              C - Married 1 Income
Allowances                                                                                       10                                                  2
Additional Withholding                                                                            0                                                  0

                                                                    Payment Information
Bank                                    Account Name                             Account Number                                   USD Amount                    Amount
BANK OF AMERICA, NA                     BANK OF AMERICA, NA ******8225           ******8225                                                                   2,019.13 USD
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Comcast (CC) of Willow Grove                                                                                      Employee ID: 10045887
One Comcast Center                                                                                              Employee Type: Regular-Full time
Philadelphia, PA 19103-2838                                                                                      FLSA Exempt: No
Phone: 877-909-4748


Name                          Company                                         Employee ID      Pay Period Begin        Pay Period End           Check Date         Check Number
Dennis Gates                  Comcast (CC) of Willow Grove                      10045887            05/16/2021             05/29/2021           06/04/2021

                                        Hours Worked                 Gross Pay     Pre-tax Deductions         Employee Taxes     Post-tax Deductions                   Net Pay
Current                                        80.00                  2,725.30                 354.97                 300.03                  51.16                    2,019.14
YTD                                           821.00                 32,361.25               4,047.64               4,035.20                 560.36                   23,718.05

                                              Earnings                                                                             Employee Taxes
Description                 Dates                            Hours    Rate        Amount            YTD    Description                                   Amount            YTD
Flex Day                                                                                        1,210.77   Social Security                                158.09       1,886.36
Holiday OT                                                                                        264.72   Medicare                                        36.97         441.16
Holiday Pay                                                                                       529.44   Federal Withholding                             26.33         714.24
Holiday Premium                                                                                   132.36   State Tax - GA                                  78.64         993.44
Overtime Pay                                                                                      298.79
Overtime Premium                                                                                  149.40
Quarterly Frontline Bonus                                                                       1,889.12
Regular Pay - Hourly        05/16/2021 - 05/22/2021            40    34.07       1,362.65
Regular Pay - Hourly        05/23/2021 - 05/29/2021            40    34.07       1,362.65      27,076.87
Vacation Pay                                                                                      809.78
Earnings                                                                         2,725.30      32,361.25   Employee Taxes                                300.03        4,035.20

                              Pre-tax Deductions                                                                        Post-tax Deductions
Description                                     Rate           Amount            YTD    Description                                      Rate            Amount            YTD
401k Pretax                                  6.000%             163.52       1,941.69   Personal (Accident Personal)                                       4.61           50.71
Dental                                                           10.78         118.58   Spouse AD&D Insurance                                              1.30           14.30
Medical                                                         174.50       1,919.50   Spouse Life Insurance                                             28.58          314.38
Vision                                                            6.17          67.87   Supp LTD 60%                                                      14.59          158.39
                                                                                        Supplemental AD&D Ins                                              2.08           22.58


Pre-tax Deductions                                              354.97       4,047.64   Post-tax Deductions                                               51.16          560.36

                                                                         Taxable Non-Cash Event
Description                                                                                                                                              Amount            YTD
Basic LTD 40%                                                                                                                                              3.63           39.43
Taxable GTL                                                                                                                                               12.42          130.42
Taxable Non-Cash Event                                                                                                                                    16.05          169.85

                                                                                            Federal                                              State
Marital Status                                                                              Married                              C - Married 1 Income
Allowances                                                                                       10                                                  2
Additional Withholding                                                                            0                                                  0

                                                                    Payment Information
Bank                                    Account Name                             Account Number                                   USD Amount                    Amount
BANK OF AMERICA, NA                     BANK OF AMERICA, NA ******8225           ******8225                                                                   2,019.14 USD
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Comcast (CC) of Willow Grove                                                                                      Employee ID: 10045887
One Comcast Center                                                                                              Employee Type: Regular-Full time
Philadelphia, PA 19103-2838                                                                                      FLSA Exempt: No
Phone: 877-909-4748


Name                          Company                                         Employee ID      Pay Period Begin        Pay Period End           Check Date         Check Number
Dennis Gates                  Comcast (CC) of Willow Grove                      10045887            05/30/2021             06/12/2021           06/18/2021

                                        Hours Worked                 Gross Pay     Pre-tax Deductions         Employee Taxes     Post-tax Deductions                   Net Pay
Current                                        76.00                  3,815.46                 420.38                 579.55                  51.16                    2,764.37
YTD                                           897.00                 36,176.71               4,468.02               4,614.75                 611.52                   26,482.42

                                             Earnings                                                                              Employee Taxes
Description                 Dates                            Hours    Rate        Amount            YTD    Description                                   Amount            YTD
Flex Day                    05/30/2021 - 06/05/2021              4   34.07         136.27       1,347.04   Social Security                                225.68       2,112.04
Flex Payout                 06/06/2021 - 06/12/2021              8   34.07         272.53         272.53   Medicare                                        52.79         493.95
Holiday OT                  05/30/2021 - 06/05/2021              8   34.07         272.53         537.25   Federal Withholding                            163.52         877.76
Holiday Pay                 05/30/2021 - 06/05/2021              8   34.07         272.53         801.97   State Tax - GA                                 137.56       1,131.00
Holiday Premium             05/30/2021 - 06/05/2021              8   17.04         136.28         268.64
Overtime Pay                05/30/2021 - 06/05/2021              8   34.07         272.53         571.32
Overtime Premium            05/30/2021 - 06/05/2021              8   17.04         136.28         285.68
Quarterly Frontline Bonus                                                                       1,889.12
Regular Pay - Hourly        05/30/2021 - 06/05/2021            28    34.07         953.86
Regular Pay - Hourly        06/06/2021 - 06/12/2021            32    34.07       1,090.12      29,120.85
Vacation Pay                06/06/2021 - 06/12/2021             8    34.07         272.53       1,082.31
Earnings                                                                         3,815.46      36,176.71   Employee Taxes                                579.55        4,614.75

                              Pre-tax Deductions                                                                        Post-tax Deductions
Description                                     Rate           Amount            YTD    Description                                      Rate            Amount            YTD
401k Pretax                                  6.000%             228.93       2,170.62   Personal (Accident Personal)                                       4.61           55.32
Dental                                                           10.78         129.36   Spouse AD&D Insurance                                              1.30           15.60
Medical                                                         174.50       2,094.00   Spouse Life Insurance                                             28.58          342.96
Vision                                                            6.17          74.04   Supp LTD 60%                                                      14.59          172.98
                                                                                        Supplemental AD&D Ins                                              2.08           24.66


Pre-tax Deductions                                              420.38       4,468.02   Post-tax Deductions                                               51.16          611.52

                                                                         Taxable Non-Cash Event
Description                                                                                                                                              Amount            YTD
Basic LTD 40%                                                                                                                                              3.63           43.06
Taxable GTL                                                                                                                                               12.42          142.84
Taxable Non-Cash Event                                                                                                                                    16.05          185.90

                                                                                            Federal                                              State
Marital Status                                                                              Married                              C - Married 1 Income
Allowances                                                                                       10                                                  2
Additional Withholding                                                                            0                                                  0

                                                                    Payment Information
Bank                                    Account Name                             Account Number                                   USD Amount                    Amount
BANK OF AMERICA, NA                     BANK OF AMERICA, NA ******8225           ******8225                                                                   2,764.37 USD
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Comcast (CC) of Willow Grove                                                                                      Employee ID: 10045887
One Comcast Center                                                                                              Employee Type: Regular-Full time
Philadelphia, PA 19103-2838                                                                                      FLSA Exempt: No
Phone: 877-909-4748


Name                          Company                                         Employee ID      Pay Period Begin        Pay Period End           Check Date         Check Number
Dennis Gates                  Comcast (CC) of Willow Grove                      10045887            06/27/2021             07/10/2021           07/16/2021

                                        Hours Worked                 Gross Pay     Pre-tax Deductions         Employee Taxes     Post-tax Deductions                   Net Pay
Current                                         32.00                 2,725.30                 354.97                 300.03                  51.16                    2,019.14
YTD                                          1,001.00                41,627.31               5,177.96               5,214.82                 713.84                   30,520.69

                                             Earnings                                                                              Employee Taxes
Description                 Dates                            Hours    Rate        Amount            YTD    Description                                   Amount            YTD
Flex Day                    06/27/2021 - 07/03/2021              8   34.07         272.53       1,619.57   Social Security                                158.09       2,428.23
Flex Payout                                                                                       272.53   Medicare                                        36.97         567.89
Holiday OT                                                                                        537.25   Federal Withholding                             26.33         930.42
Holiday Pay                 07/04/2021 - 07/10/2021             8    34.07         272.53       1,074.50   State Tax - GA                                  78.64       1,288.28
Holiday Premium                                                                                   268.64
Overtime Pay                                                                                      571.32
Overtime Premium                                                                                  285.68
Quarterly Frontline Bonus                                                                       1,889.12
Regular Pay - Hourly        06/27/2021 - 07/03/2021            32    34.07       1,090.12      32,663.74
Vacation Pay                07/04/2021 - 07/10/2021            32    34.07       1,090.12       2,444.96
Earnings                                                                         2,725.30      41,627.31   Employee Taxes                                300.03        5,214.82

                              Pre-tax Deductions                                                                        Post-tax Deductions
Description                                     Rate           Amount            YTD    Description                                      Rate            Amount            YTD
401k Pretax                                  6.000%             163.52       2,497.66   Personal (Accident Personal)                                       4.61           64.54
Dental                                                           10.78         150.92   Spouse AD&D Insurance                                              1.30           18.20
Medical                                                         174.50       2,443.00   Spouse Life Insurance                                             28.58          400.12
Vision                                                            6.17          86.38   Supp LTD 60%                                                      14.59          202.16
                                                                                        Supplemental AD&D Ins                                              2.08           28.82


Pre-tax Deductions                                              354.97       5,177.96   Post-tax Deductions                                               51.16          713.84

                                                                         Taxable Non-Cash Event
Description                                                                                                                                              Amount            YTD
Basic LTD 40%                                                                                                                                              3.63           50.32
Taxable GTL                                                                                                                                               12.42          167.68
Taxable Non-Cash Event                                                                                                                                    16.05          218.00

                                                                                            Federal                                              State
Marital Status                                                                              Married                              C - Married 1 Income
Allowances                                                                                       10                                                  2
Additional Withholding                                                                            0                                                  0

                                                                    Payment Information
Bank                                    Account Name                             Account Number                                   USD Amount                    Amount
BANK OF AMERICA, NA                     BANK OF AMERICA, NA ******8225           ******8225                                                                   2,019.14 USD
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Comcast (CC) of Willow Grove                                                                                      Employee ID: 10045887
One Comcast Center                                                                                              Employee Type: Regular-Full time
Philadelphia, PA 19103-2838                                                                                      FLSA Exempt: No
Phone: 877-909-4748


Name                          Company                                         Employee ID      Pay Period Begin        Pay Period End           Check Date         Check Number
Dennis Gates                  Comcast (CC) of Willow Grove                      10045887            01/24/2021             02/06/2021           02/12/2021

                                        Hours Worked                 Gross Pay     Pre-tax Deductions         Employee Taxes     Post-tax Deductions                   Net Pay
Current                                        80.00                  3,696.59                 413.25                 629.74                  50.68                    2,602.92
YTD                                           224.00                  9,785.15               1,161.47               1,372.43                 152.04                    7,099.21

                                              Earnings                                                                             Employee Taxes
Description                 Dates                            Hours    Rate        Amount            YTD    Description                                   Amount            YTD
Flex Day                                                                                          264.72   Social Security                                218.24         573.81
Holiday OT                                                                                        264.72   Medicare                                        51.04         134.20
Holiday Pay                                                                                       529.44   Federal Withholding                            229.40         341.76
Holiday Premium                                                                                   132.36   State Tax - GA                                 131.06         322.66
Overtime Pay                                                                                      264.72
Overtime Premium                                                                                  132.36
Quarterly Frontline Bonus   01/31/2021 - 02/06/2021                              1,049.39       1,049.39
Regular Pay - Hourly        01/24/2021 - 01/30/2021            40    33.09       1,323.60
Regular Pay - Hourly        01/31/2021 - 02/06/2021            40    33.09       1,323.60       6,882.72
Vacation Pay                                                                                      264.72
Earnings                                                                         3,696.59       9,785.15   Employee Taxes                                629.74        1,372.43

                              Pre-tax Deductions                                                                        Post-tax Deductions
Description                                     Rate           Amount           YTD     Description                                      Rate            Amount            YTD
401k Pretax                                  6.000%             221.80        587.12    Personal (Accident Personal)                                       4.61           13.83
Dental                                                           10.78         32.34    Spouse AD&D Insurance                                              1.30            3.90
Medical                                                         174.50        523.50    Spouse Life Insurance                                             28.58           85.74
Vision                                                            6.17         18.51    Supp LTD 60%                                                      14.17           42.51
                                                                                        Supplemental AD&D Ins                                              2.02            6.06


Pre-tax Deductions                                              413.25       1,161.47   Post-tax Deductions                                               50.68          152.04

                                                                         Taxable Non-Cash Event
Description                                                                                                                                              Amount            YTD
Basic LTD 40%                                                                                                                                              3.53           10.59
Taxable GTL                                                                                                                                               11.18           33.54
Taxable Non-Cash Event                                                                                                                                    14.71           44.13

                                                                                            Federal                                              State
Marital Status                                                                              Married                              C - Married 1 Income
Allowances                                                                                       10                                                  2
Additional Withholding                                                                            0                                                  0

                                                                    Payment Information
Bank                                    Account Name                             Account Number                                   USD Amount                    Amount
BANK OF AMERICA, NA                     BANK OF AMERICA, NA ******8225           ******8225                                                                   2,602.92 USD
